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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF GEORGIA
                                   WAYCROSS DIVISION

    BRANTLEY COUNTY DEVELOPMENT
    PARTNERS, LLC,

                  Plaintiff,
                                                        CIVIL ACTION FILE
    V.                                                  NO. 5:19-CV-00109-LGW-BWC

    BRANTLEY COUNTY, GEORGIA by and
    through its CHAIRMAN and MEMBERS OF
    THE BRANTLEY COUNTY BOARD OF
    COMMISSIONERS; CHRIS “SKIPPER”
    HARRIS; RANDY DAVIDSON; BRIAN
    HENDRIX; JESSE MOBLEY and RAY
    GRIFFIN, all in their individual and official
    capacities as Commissioners,

                  Defendants.


                DEFENDANTS’ NOTICE OF INTENT TO FILE REPLY BRIEF

          COME NOW Defendants Brantley County, Georgia, by and through its Chairman and

Members of the Brantley County Board of Commissioners and Chris “Skipper” Harris, Randy

Davison, Brian Hendrix, Jesse Mobley, and Ray Griffin1, (“Defendants” or “the County”), and

pursuant to L.R. 7.6, hereby file this Notice of Intent to File a Reply Brief as follows:

          Plaintiff filed and served its Response to Defendants’ Motion for Summary Judgment on

June 22, 2022. Defendants intend to file a reply brief in support of their Motion for Summary

Judgment in accordance with L.R. 7.6.

          This 27th day of June, 2022.



1
    Ray Griffin is no longer a Brantley County Commissioner.
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                                        Attorneys for Defendants




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                               CERTIFICATE OF SERVICE

       I hereby certify that I have this day electronically submitted the foregoing DEFENDANTS’

NOTICE OF INTENT TO FILE REPLY BRIEF to the Clerk of Court using the CM/ECF system

which will automatically send electronic mail notification of such filing and service to the

following counsel of record:

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       This 27th day of June, 2022.

                                           /s/ Dana K. Maine
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